                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                  AT CHATTANOOGA

UNITED STATES OF AMERICA                           )
                                                   )       Case No. 1:06-cr-140
vs.                                                )
                                                   )       JUDGE COLLIER
TOMMY PHILLIPS                                     )       MAGISTRATE JUDGE CARTER
                                                   )

                              MEMORANDUM & ORDER
                            ARRAIGNMENT ON INDICTMENT

        In accordance with Rule 10 of the Federal Rules of Criminal Procedure, an arraignment of
the defendant, TOMMY PHILLIPS, on the indictment returned by the Grand Jury was held before
the undersigned on January 18, 2007.

       Those present for the hearing included:

              (1)     AUSA Gregg Sullivan for the USA.
              (2)     The defendant, TOMMY PHILLIPS.
              (3)     Attorney Arvin Reingold for defendant Phillips.
              (4)     Deputy Clerk Russell Eslinger.

        After being sworn in due form of law, the defendant was informed or reminded of his
privilege against self-incrimination accorded under the 5th Amendment to the United States
Constitution.

       The person present was the defendant named in the indictment.

      The defendant acknowledged having been provided with a copy of the indictment and
acknowledged having the opportunity of reviewing the indictment with counsel.

       The defendant waived a formal reading of the indictment in open court. The defendant
entered a not guilty plea to each count of the indictment.

      Presently, the case is assigned the dates set forth in a separate Modified Discovery and
Scheduling Order.

       ENTER.
                                            s/Susan K. Lee
                                            SUSAN K. LEE
                                            UNITED STATES MAGISTRATE JUDGE




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